Case 2:07-cr-00003-LRS   ECF No. 123   filed 12/14/07   PageID.345 Page 1 of 7
Case 2:07-cr-00003-LRS   ECF No. 123   filed 12/14/07   PageID.346 Page 2 of 7
Case 2:07-cr-00003-LRS   ECF No. 123   filed 12/14/07   PageID.347 Page 3 of 7
Case 2:07-cr-00003-LRS   ECF No. 123   filed 12/14/07   PageID.348 Page 4 of 7
Case 2:07-cr-00003-LRS   ECF No. 123   filed 12/14/07   PageID.349 Page 5 of 7
Case 2:07-cr-00003-LRS   ECF No. 123   filed 12/14/07   PageID.350 Page 6 of 7
Case 2:07-cr-00003-LRS   ECF No. 123   filed 12/14/07   PageID.351 Page 7 of 7
